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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

RUDOLPH J. GULSBY,                    :
                                      :
       Plaintiff,                     :
                                      :
vs.                                   :   CIVIL ACTION 04-0478-BH-M
                                      :
JO ANNE B. BARNHART,                  :
Commissioner of                       :
Social Security,                      :
                                      :
       Defendant.                     :

                       REPORT AND RECOMMENDATION

       Pending before the Court is Plaintiff's Motion for Award

of Attorney’s Fees Pursuant to the Equal Access to Justice Act

(Doc. 23) and Defendant's Notice of No Objection to

Plaintiff's Motion for Award of Attorney Fees Pursuant to the

Equal Access to Justice Act (Doc. 24).           After consideration of

the pertinent pleadings, it is recommended, without objection,

that the Motion be granted and that Plaintiff's attorney be

awarded an EAJA attorney's fee in the amount of $2,050.00.

       Plaintiff filed this action on July 21, 2004 (Doc. 1).

On September 8, 2005, the Court entered judgment remanding

this action to the Commissioner for further proceedings

pursuant to sentence four of 42 U.S.C. § 405(g) (Docs. 21,

22).    On November 7, 2005, Gilbert B. Laden, counsel for

Plaintiff, filed a Motion for Award of Attorney’s Fees

Pursuant to the Equal Access to Justice Act, in which
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Plaintiff requests a fee of $2,050.00, computed at an hourly

rate of $125.00 for 16.4 hours spent in this Court (Doc. 23).

Defendant in her Notice of No Objection filed November 21,

2005, stated that she has no objection to Plaintiff’s Motion

(Doc. 24).

    The EAJA requires a court to

         award to a prevailing party ... fees and
         other expenses ... incurred by that party
         in any civil action ..., including
         proceedings for judicial review of Agency
         action, brought by or against the United
         States ..., unless the court finds that the
         position of the United States was
         substantially justified or that special
         circumstances make an award unjust.

28 U.S.C. § 2412(d)(1)(A).      The EAJA further requires that a

prevailing party file an application for attorney's fees

within thirty days of final judgment in the action.            28 U.S.C.

§ 2412(d)(1)(B).    The court's judgment is final sixty days

after it is entered, which is the time in which an appeal may

be taken pursuant to Rule 4(a) of the Federal Rules of

Appellate Procedure.     See Shalala v. Schaefer, 509 U.S. 292,

113 S.Ct. 2625, 2632 (1993).

    Defendant concedes that Plaintiff became the prevailing

party when the Court remanded this action, Schaefer, 113 S.Ct.

at 2631; that the fee application was timely filed; and that

her position was not substantially justified (Doc. 24).


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    The EAJA, like 42 U.S.C. § 1988, is a fee-shifting

statute.   The Supreme Court has indicated that “‘the most

useful starting point for determining the amount of a

reasonable fee is the number of hours reasonably expended on

the litigation multiplied by a reasonable hourly rate.’”

Watford v. Heckler, 765 F.2d 1562, 1586 (11th Cir. 1985)(EAJA),

quoting Hensley v. Eckerhartt, 461 U.S. 424, 433, 103 S.Ct.

1933, 1939 (1983)(§ 1988).      In describing this lodestar method

of calculation, the United States Supreme Court stated:

           This calculation provides an objective
           basis on which to make an initial estimate
           of the value of a lawyer’s services. The
           party seeking an award of fees should
           submit evidence supporting the hours worked
           and the rates claimed. Where the
           documentation of hours is inadequate, the
           district court may reduce the award
           accordingly. The district court also
           should exclude from this initial fee
           calculation hours that were not “reasonably
           expended” .... Cases may be overstaffed,
           and the skill and experience of lawyers
           vary widely. Counsel for the prevailing
           party should make a good-faith effort to
           exclude from a fee request hours that are
           excessive, redundant, or otherwise
           unnecessary, just as a lawyer in private
           practice ethically is obligated to exclude
           such hours from his fee submission. In the
           private sector, ‘billing judgment’ is an
           important component in fee setting. It is
           no less important here. Hours that are not
           properly billed to one’s client also are
           not properly billed to one’s adversary
           pursuant to statutory authority.

Hensley, 461 U.S. at 434 (citations omitted).          Counsel must

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use professional judgment in billing under EAJA.           A lawyer

should only be compensated for hours spent on activities for

which he would bill a client of means who was seriously intent

on vindicating similar rights.         Norman v. Housing Authority,

836 F.2d 1292, 1301 (11th Cir. 1988).

     The Court, after examination of Plaintiff’s Motion and

supporting documentation, and after consideration of the

reasonableness of the hours claimed, finds that Plaintiff’s

time expended in prosecuting this action for a total of 16.4

hours is reasonable.

    With respect to a determination of the hourly rate to

apply in a given EAJA case, the express language of the Act

provides in pertinent part as follows:

         The amount of fees awarded under this
         subsection shall be based upon prevailing
         market rates for the kind and quality of
         the services furnished, except that ...
         attorney fees shall not be awarded in
         excess of $125 per hour unless the court
         determines that an increase in the cost of
         living or a special factor, such as the
         limited availability of qualified attorneys
         for the proceedings involved, justifies a
         higher fee.

28 U.S.C. § 2412(d)(2)(A)(Supp. 1997).

    In Meyer v. Sullivan, 958 F.2d 1029 (11th Cir. 1992), the

Eleventh Circuit determined that the EAJA establishes a two-

step analysis for determining the appropriate hourly rate to


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be applied in calculating attorney's fees under the Act.

            The first step in the analysis, ... is to
            determine the market rate for "similar
            services [provided] by lawyers of
            reasonably comparable skills, experience,
            and reputation." ... The second step,
            which is needed only if the market rate is
            greater than $75 per hour, is to determine
            whether the court should adjust the hourly
            fee upward...to take into account an
            increase in the cost of living, or a
            special factor.

Id. at 1033-34 (citations omitted & footnote omitted)1.                 The

applicant bears the burden of producing satisfactory evidence

that the requested rate is in line with prevailing market

rates.     NAACP v. City of Evergreen, 812 F.2d 1332, 1338 (11th

Cir. 1987).      Satisfactory evidence at a minimum is more than

the affidavit of the attorney performing the work.               Blum v.

Stenson, 465 U.S. 886, 104 S.Ct. 1541, 1547 n.11 (1984).

Where the fees or time claimed seem expanded or there is lack

of documentation or testimony in support, the court may make

an award on its own experience.           Norman v. City of Montgomery,

836 F.2d 1292, 1303 (11th Cir. 1988).            Where documentation is

inadequate, the court is not relieved of its obligation to

award a reasonable fee, but the court traditionally has had

the power to make such an award without the need of further


      1 Subsequent to Meyer, the cap was raised from $75.00 per hour
to $125.00 per hour, as set out above in 28 U.S.C. §
2412(d)(2)(A)(Supp. 1997).

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pleadings or an evidentiary hearing.        Id.

    The prevailing market rate in the Southern District of

Alabama is $125.00 per hour.       See Smith v. Massanari, Civil

Action 00-0812-P-M (October 25, 2001); Boone v. Apfel, Civil

Action 99-0965-CB-L (August 30, 2001); Lee v. Massanari, Civil

Action 00-0518-RV-S (June 29, 2001); Willits v. Massanari,

Civil Action 00-0530-RV-C (May 4, 2001); and Square v. Halter,

Civil Action 00-0516-BH-L (April 12, 2001).          Because the

market rate is not greater than the statutory rate of $125.00

per hour, the Court need not reach the second step set out in

the Meyer case.    Multiplying the 16.4 hours by the Southern

District of Alabama inflation-adjusted prevailing market rate

of $125.00 results in a fee of $2,050.00.

    In conclusion, it is recommended, without objection, that

Plaintiff's Motion be granted as set out above and that

Plaintiff's attorney be awarded an EAJA attorney's fee in the

amount of $2,050.00.

     MAGISTRATE JUDGE’S EXPLANATION OF PROCEDURAL RIGHTS
        AND RESPONSIBILITIES FOLLOWING RECOMMENDATION
         AND FINDINGS CONCERNING NEED FOR TRANSCRIPT

1.   Objection. Any party who objects to this recommendation
or anything in it must, within ten days of the date of service
of this document, file specific written objections with the
clerk of court. Failure to do so will bar a de novo
determination by the district judge of anything in the
recommendation and will bar an attack, on appeal, of the
factual findings of the magistrate judge. See 28 U.S.C. §
636(b)(1)(C); Lewis v. Smith, 855 F.2d 736, 738 (11th Cir.

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1988); Nettles v. Wainwright, 677 F.2d 404 (5th Cir. Unit B,
1982)(en banc). The procedure for challenging the findings
and recommendations of the magistrate judge is set out in more
detail in SD ALA LR 72.4 (June 1, 1997), which provides that:

    A party may object to a recommendation entered by a
    magistrate judge in a dispositive matter, that is, a
    matter excepted by 28 U.S.C. § 636(b)(1)(A), by
    filing a “Statement of Objection to Magistrate
    Judge’s Recommendation” within ten days after being
    served with a copy of the recommendation, unless a
    different time is established by order. The
    statement of objection shall specify those portions
    of the recommendation to which objection is made and
    the basis for the objection. The objecting party
    shall submit to the district judge, at the time of
    filing the objection, a brief setting forth the
    party’s arguments that the magistrate judge’s
    recommendation should be reviewed de novo and a
    different disposition made. It is insufficient to
    submit only a copy of the original brief submitted
    to the magistrate judge, although a copy of the
    original brief may be submitted or referred to and
    incorporated into the brief in support of the
    objection. Failure to submit a brief in support of
    the objection may be deemed an abandonment of the
    objection.

     A magistrate judge’s recommendation cannot be appealed to
a Court of Appeals; only the district judge’s order or
judgment can be appealed.

2.   Transcript (applicable where proceedings tape recorded).
Pursuant to 28 U.S.C. § 1915 and Fed.R.Civ.P. 72(b), the
magistrate judge finds that the tapes and original records in
this action are adequate for purposes of review. Any party
planning to object to this recommendation, but unable to pay
the fee for a transcript, is advised that a judicial
determination that transcription is necessary is required
before the United States will pay the cost of the transcript.

    DONE this 28th day of November, 2005.

                                 s/BERT W. MILLING, JR.
                                 UNITED STATES MAGISTRATE JUDGE


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